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           16                                                 Facsimile: 310.551.8741
           17                                                 Attorneys for Defendant Archer Aviation Inc.
           18                                UNITED STATES DISTRICT COURT

           19                             NORTHERN DISTRICT OF CALIFORNIA

           20                                      SAN FRANCISCO DIVISION

           21    WISK AERO LLC,                               CASE NO. 3:21-CV-02450-WHO
           22                        Plaintiff,               STIPULATION RE DATE OF
                                                              MEDIATION AND ORDER
           23          v.
                                                              Honorable Judge William H. Orrick
           24    ARCHER AVIATION INC.,
           25                         Defendant.
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Gibson, Dunn &
Crutcher LLP
                                  STIPULATION RE DATE OF MEDIATION AND [PROPOSED] ORDER
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            1           Pursuant to Civil Local Rules 6-2 and 7-12, Plaintiff Wisk Aero LLC (“Wisk”) and Defendant
            2    Archer Aviation Inc. (“Archer,” and collectively with Wisk, the “Parties”), by and through their
            3    undersigned counsel, hereby stipulate and agree as follows:
            4           WHEREAS, the Parties have agreed to participate in private mediation and have selected
            5    Antonio Piazza (the “Mediator”) to mediate their dispute (Dkts. 139, 242);
            6           WHEREAS, the Court previously ordered that the deadline for “mediation set for July 1,
            7    2022 may be continued up to one month to suit the schedule of the mediator and parties” (Dkt. 257);
            8           WHEREAS, due to scheduling conflicts, the Parties and the Mediator intend to hold an
            9    in-person mediation session on August 9, 2022, if the Court so permits;
           10           WHEREAS, the Parties do not believe this extension will have an adverse impact on the case
           11    schedule more broadly (see Civil L.R. 6-2(a)(3));
           12           NOW THEREFORE, the Parties, through their undersigned counsel, stipulate and
           13    respectfully request that the Court enter an Order establishing the following:
           14           The deadline for the Parties to attend private mediation is extended through August 2022.
           15    IT IS SO STIPULATED.
           16
                                                               Respectfully submitted,
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           18
                 DATED: June 1, 2022                           GIBSON, DUNN & CRUTCHER LLP
           19

           20                                                  By:                 /s/ Josh A. Krevitt
                                                                                      Josh A. Krevitt
           21
                                                                         Attorneys for Defendant Archer Aviation Inc.
           22

           23                                                  QUINN EMANUEL URQUHART & SULLIVAN, LLP
           24
                                                               By:                  /s/ Yury Kapgan
           25                                                                         Yury Kapgan

           26                                                               Attorneys for Plaintiff Wisk Aero LLC

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            1    PURSUANT TO STIPULATION, IT IS SO ORDERED.
            2

            3              June 6
                 DATED: __________________, 2022

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            5                                                ______________________________________
                                                                    Honorable William H. Orrick
            6                                                        United States District Judge
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            1    ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
            2           I, Josh A. Krevitt, attest that concurrence in the filing of this document has been obtained

            3    from the other signatories. I declare under penalty of perjury under the laws of the United States of

            4    America that the foregoing is true and correct.

            5

            6    DATED: June 1, 2022                          GIBSON, DUNN & CRUTCHER LLP

            7
                                                              By:                 /s/ Josh A. Krevitt
            8                                                                        Josh A. Krevitt

            9                                                 Attorneys for Defendant Archer Aviation Inc.

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